                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

PHILADELPHIA INDEMNITY                             )
INSURANCE COMPANY,                                 )
                                                   )
                      Plaintiff,                   )
       v.                                          )    Civil Action No.
                                                   )
PAGE INSURANCE, LLC                                )
                                                   )
                      Defendant.                   )

 COMPLAINT FOR DECLARATORY JUDGMENT, BREACH OF CONTRACT, AND
                  BREACH OF THE LANHAM ACT

       COMES NOW Plaintiff, PHILADELPHIA INDEMNITY INSURANCE COMPANY, by

and through its counsel, and brings this Complaint for Declaratory Judgment, Breach of Contract,

and Breach of the Lanham Act against Defendant, PAGE INSURANCE, LLC, and states as

follows:

                                         Introduction

       1.     This is an action arising primarily from a contract between PHILADELPHIA

INDEMNITY INSURANCE COMPANY (“PIIC” or “Philadelphia”) and PAGE INSURANCE,

LLC (“Page”) in which PIIC seeks a declaration that it has no duty to defend, to advance defense

costs or to indemnify Page in the lawsuit captioned Seikosoft LLC v. Philadelphia Indemnity

Insurance Company; Wilson Elser Moskowitz Edelman & Dicker LLP; Jeremy Merkel; Page

Insurance, LLC; and Ben Page, No. CV10-20-7615, District Court of the Seventh Judicial District

of the State of Idaho in and for the Country of Bonneville. (See Complaint in the “Seikosoft

Lawsuit,” Ex. 1.) Further, PIIC seeks entry of judgment, money damages, and attorney’s fees

because Page breached the contract between PIIC and Page, and PIIC seeks entry of a judgment,
including statutory damages and injunctive relief, because Page has violated and continues to

violate the Lanham Act by holding itself out as being PIIC in Idaho.

                                           The Parties

       2.      Plaintiff PIIC is a Pennsylvania corporation with its principal place of business in

Bala Cynwyd, Pennsylvania.

       3.      Defendant Page is a limited liability company incorporated under the laws of Idaho

with its principal place of business in Idaho Falls, Idaho. Page’s members are citizens of Idaho

and no member is a citizen of Pennsylvania.

                                         Jurisdiction and Venue

       4.      Pursuant to 28 USC § 1331, this Court has subject matter jurisdiction over all

Lanham Act claims asserted herein because such claims arise under federal law.

       5.      Pursuant to 28 USC § 1332(a), this Court has subject matter jurisdiction over this

dispute because there is complete diversity between Plaintiff and Defendant herein, and the amount

at issue exceeds $75,000, exclusive of interest and costs.

       6.      Further, pursuant to 28 USC § 1391, venue is proper in this District because PIIC

does business in this District and the contract between PIIC and Page was made in this District. In

addition, the Parties agreed in their contract to venue in this District for the resolution of any

dispute pursuant to the following provision:

       “Producer [Page] hereby consents to the jurisdiction of the United States District Court for
       the Eastern District of Pennsylvania. To the extent subject matter jurisdiction is not
       attainable in the District Court, the parties consent to the jurisdiction of the Courts of
       Common Pleas for Philadelphia County PA, and Montgomery County PA. The parties
       irrevocably waive any objection that the forums selected herein are inconvenient forums.
       To the fullest extent permitted by law, Producer hereby waives its right to a jury trial in
       any civil matter arising from or relating to this Agreement.”


       (Producer Agreement between PIIC and Page (the “Producer Agreement”, Ex. 2.)

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                                    The Producer Agreement

       7.      PIIC and Page entered into the Producer Agreement in August 2016. (Ex. 2.)

       8.      The Producer Agreement unequivocally states that Page may sell PIIC insurance

policies, but that Page is not PIIC’s agent. In the second Whereas clause of the Producer

Agreement, the Parties jointly acknowledge: “Producer is not an agent of Company, but represents

and assists insureds in negotiating and obtaining insurance coverages.” (Ex. 2.)

       9.      The Parties further agree in the first paragraph of the Producer Agreement:

“Producer is authorized to present applications for insurance policies to the Company for

Company’s review and possible acceptance. In submitting applications to Company, Producer

agrees it is acting solely as an intermediary on behalf of prospective insureds, and not as an

agent or sub-agent of Company.” (Ex. 2, emphasis added.)

       10.     In the Producer Agreement, Page further agreed not to hold itself out as being PIIC

without PIIC’s consent: “The Producer shall not utilize the Company’s materials, images, artwork,

logos, name or other supplies in any marketing, advertising or Internet use without the specific

written consent of the Company.” (Ex. 2 at Par. 12.) PIIC has not given such consent.

       11.     The Producer Agreement contains a bilateral hold harmless and indemnification

clause. Both Parties are indemnitors and indemnitees under the clause. Obligations under this

clause may arise from, among other things: “(i) any error or omission by the Indemnitor in

connection with the performance of its obligations and duties arising under this Agreement; (ii) all

fines, penalties, and related expenses which the indemnitee may incur as a result of any action of

the indemnitor which is in violation of any law or regulation; (iii) a breach by the indemnitor of

any of its obligations set forth in this Agreement; (iv) the indemnitor’s infringement,




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misappropriation, or violation of a third party’s rights including their intellectual property rights;

(v) the acts and omissions of the indemnitor’s personnel.” (Ex. 2 at Par. 13.)

                                        The Seikosoft Lawsuit

       12.     In Idaho, Seikosoft LLC, has filed a lawsuit against both PIIC and Page captioned:

Seikosoft LLC, v. Philadelphia Indemnity Insurance Company; Wilson Elser Moskowitz Edelman

& Dicker LLP; Jeremy Merkel; Page Insurance, LLC; and Ben Page, No. CV10-20-7615, District

Court of the Seventh Judicial District of the State of Idaho in and for the Country of Bonneville.

(Ex. 1.)

       13.     In the Seikosoft Lawsuit, among other things, Seikosoft alleged that PIIC

improperly denied Seikosoft indemnity for an untimely filed claim and that PIIC’s denial was

made in bad faith. PIIC has denied all allegations made by Seikosoft. (Ex. 1.)

       14.     In the Seikosoft Lawsuit, among other things, Seikosoft alleged that Page

negligently undertook to assist Seikosoft in filing Seikosoft’s insurance claim with PIIC by acting

as if Page was PIIC’s agent. (Ex. 1.)

       15.     Seikosoft’s allegations that PIIC improperly denied Seikosoft’s insurance claim

flow directly from Page’s actions in beach of the Producer Agreement. PIIC has not asserted

claims for negligence or breach-of-contract against Page in the Seikosoft Lawsuit because

Paragraph 13 of the Producer Agreement, the Indemnity clause, expressly forbids such crossclaims

by Page or PIIC: “the indemnifying party is hereby expressly prohibited from making any

statement, entering any plea and/or defense and/or agreeing to any settlement that might imply or

give rise to any fault or liability of the indemnitees.” Because the provision in Paragraph 13 is

bilateral, that clause prohibits PIIC or Page from bringing cross claims against the other in the




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Seikosoft Lawsuit because the allegations in such crossclaims would injure the other party by

materially affecting its defense to the Seikosoft allegations. (Ex. 2)

        16.      On March 27, 2023, Page tendered its defense in the Seikosoft Lawsuit to PIIC

contending that Page is entitled to do under the Producer Agreement.

        17.      A principal of Page, Ben Page, has stated in sworn testimony in the Seikosoft

Lawsuit, “Yes. As I understand it, Page Insurance is an extension of Philadelphia.”

        18.      Ben Page has also stated in sworn testimony in the Seikosoft Lawsuit, “That’s the

agency relationship. So it's limited, but there is – we were appointed agents by Philadelphia; so

there is a limited agency relationship there – or it’s an agency relationship with limited powers.”

        19.      The Producer Agreement does not authorize Page to accept claims from insureds.

(Ex. 2.)

        20.      The Producer Agreement does not authorize Page to direct Insureds to PIIC’s Legal

Services Hotline (which does not accept claim reports) instead of reporting claims according to

the claims reporting process described in an insured’s insurance policy. (Ex. 2.)

        21.      Page has filed a pleading in the Seikosoft Lawsuit stating that “It is being alleged

that the lawsuit herein is the result of Philadelphia’s breach of contract with Plaintiff Seikosoft.”

                COUNT I - DECLARATORY JUDGMENT UNDER 28 USC § 1331

                PIIC OWES NO DUTY TO DEFEND OR DUTY TO INDEMNIFY
                          PAGE IN THE SEIKOSOFT LAWSUIT

        22.      Philadelphia repeats and realleges Paragraphs 1 to 21 as paragraph 22 as if set forth

fully herein.

        23.      Page has tendered its defense in the Seikosoft Lawsuit to PIIC under the terms of

Paragraph 13 of the Producer Agreement. (See Ex. 2.)




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       24.     Page’s theory of recovery is based on Page’s allegations that PIIC breached PIIC’s

insurance contract with Seikosoft.

       25.     Seikosoft has sued Page on a theory of negligent undertaking because Page

purported to be PIIC’s Agent and provide assistance to Seikosoft. Seikosoft’s allegations against

Page arise from Page’s conduct, not PIIC’s conduct.

       26.     Paragraph 13 of the Producer Agreement does not provide Page with any right to

seek defense or indemnity from PIIC for contract breaches alleged by third parties against PIIC

for contracts to which Page is not a Party. (Ex. 2.)

       27.     An actual controversy exists between the parties and this Court is vested with the

power to declare the rights and liabilities of the parties hereto and to give such other and further

relief as it deems necessary under the facts and circumstances. The amount in controversy exceeds

$75,000.

       WHEREFORE, Philadelphia Indemnity Insurance Company respectfully requests this

Honorable Court to issue an order:

       (a)     declaring that Philadelphia has no duty under the Producer Agreement to defend,

               to advance Defense Costs or to indemnify Page in connection with the Seikosoft

               Lawsuit; and

       (b)     awarding Philadelphia such other and further relief as the Court may deem just and

               proper including all attorney’s fees as provided in paragraph 14 of the Producer

               Agreement.




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                             COUNT II – BREACH OF CONTRACT

              PAGE HAS BREACHED THE PRODUCER AGREEMENT
         BY ITS ACTIONS CONCERNING SEIKOSOFT AND BY HOW IT HAS
                    LITIGATED THE SEIKOSOFT LAWSUIT

        28.     Philadelphia repeats and realleges Paragraphs 1 to 27 as paragraph 28 as if set forth

fully herein.

        29.     PIIC’s relationship with Page is defined by the Producer Agreement. (Ex. 2.)

        30.     Page has breached the Producer Agreement by holding itself out as PIIC’s agent

and by holding itself out as an extension of PIIC.

        31.     Page has breached the Producer Agreement by causing Seikosoft to believe Page

had the authority to accept insurance claims for PIIC.

        32.     Page has breached the Producer Agreement by stating in the Seikosoft Lawsuit that

PIIC breached PIIC’s insurance contract with Seikosoft.

        33.     Page has breached the Producer Agreement by submitting false insurance

applications to PIIC.

        34.     Page has breached the Producer Agreement through other conduct regarding

Seikosoft’s PIIC insurance policy, and PIIC has been damaged in an amount that exceeds $75,000.

        WHEREFORE, Philadelphia Indemnity Insurance Company respectfully requests this

Honorable Court enter judgment for PIIC on breach of contract:

        (a)     awarding PIIC all compensatory and consequential damages; and

        (b)     awarding Philadelphia such other and further relief as the Court may deem just and

                proper including all attorney’s fees as provided in paragraph 14 of the Producer

                Agreement.



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                           COUNT III – SPECIFIC PERFORMANCE

  THE PRODUCER AGREEMENT REQUIRES PAGE TO PAY PIIC’S ATTORNEY’S
         FEES FOR THIS LITIGATION AND FOR THE PAGE LAWSUIT

        35.     Philadelphia repeats and realleges Paragraphs 1 to 34 as paragraph 35 as if set forth

fully herein.

        36.     Paragraph 14 of the Producer Agreement provides:

        In the event that Company is required to institute legal action against the Producer
        or others, including: (a) any action arising from a breach of the Agreement; (b) any
        action to compel the Producer to perform any duty or duties required by the
        Agreement or under applicable law; (c) any action that seeks indemnity or
        contribution from the Producer; or (d) any action arising from any tort committed
        by the Producer, then Producer shall be liable for all legal fees and costs incurred by
        the Company in pursuing such legal action. The Company’s right to recover its legal
        fees and costs shall include, but not be limited to, the Company’s actual attorney’s
        fees, expert or consulting fees, litigation costs, court costs, and all other related legal
        fees and costs.

        (Ex. 2.)

        37.     PIIC is entitled to all Attorney’s Fees for this action based on the terms of the

Producer Agreement.

        38.     PIIC is entitled to all Attorney’s Fees for the Seikosoft Lawsuit based on Page’s

conduct that gave rise to that lawsuit.

        39.     PIIC’s legal fees exceed $75,000.

        WHEREFORE, Philadelphia Indemnity Insurance Company respectfully requests this

Honorable Court to issue an order:

        (a)     compelling Page to pay all of PIIC’s attorney’s fees for this action and for the

                Seikosoft Lawsuit; and

        (b)     awarding Philadelphia Indemnity Insurance Company such other and further relief

                as the Court may deem just and proper.



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                                COUNT IV – CONTRIBUTION

PIIC IS ENTITLED TO CONTRIUTION FOR ANY LIABILITY IT MAY FACE IN THE
                         SEIKOSOFT LAWSUIT

        40.     Philadelphia repeats and realleges Paragraphs 1 to 39 as paragraph 40 as if set forth

fully herein.

        41.     Page is responsible, in whole or in part, contractually or equitably, for the damages

that Seikosoft seeks to recover from PIIC in the Seikosoft Lawsuit.

        42.     PIIC has been substantially damaged in an amount that exceeds $75,000 but which

is ultimately to be determined in the Seikosoft Lawsuit.

        WHEREFORE, Philadelphia Indemnity Insurance Company respectfully requests this

Court to issue an order:

        (a)     requiring Page to pay any damages PIIC must pay in settlement or as the result of

                judgment in the Seikosoft Lawsuit; and

        (b)     awarding Philadelphia such other and further relief as the Court may deem just and

                proper.

        COUNT V – LANHAM ACT 15 USC § 1125 (Section 43 of the Lanham Act)

                PAGE IS VIOLATING SECTION 43 OF THE LANHAM ACT
                          BY HOLDING ITSELF OUT AS PIIC

        43.     Philadelphia repeats and realleges Paragraphs 1 to 42 as paragraph 43 as if set forth

fully herein.

        44.     Section 43 of the Lanham Act provides in part that it is grounds to bring a civil

action to seek remedy for violation of the Lanham Act where:

        (1) Any person who, on or in connection with any goods or services, or any
        container for goods, uses in commerce any word, term, name, symbol, or device,
        or any combination thereof, or any false designation of origin, false or misleading
        description of fact, or false or misleading representation of fact, which—

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        (A) is likely to cause confusion, or to cause mistake, or to deceive as to the
        affiliation, connection, or association of such person with another person, or as to
        the origin, sponsorship, or approval of his or her goods, services, or commercial
        activities by another person . . . .

        45.    A principal of Page, Ben Page, has stated in sworn testimony in the Seikosoft

Lawsuit that: “Yes. As I understand it, Page Insurance is an extension of Philadelphia.” Further

Page has produced written discovery stating that Page is PIIC.

        46.    Ben Page has also stated in sworn testimony in the Seikosoft Lawsuit that Page has

an Agency relationship with PIIC.

        47.    All of the statements by Page that it is an Agent for PIIC or that Page is PIIC are

material misstatements of fact that would deceive or create confusion with an insured as to Page’s

relationship with PIIC.

        48.    Page carries on its business in a manner that allows its customers to believe Page is

PIIC.

        49.    PIIC has been damaged by Page’s false statements, among other things, because

those false statements have caused Seikosoft to believe that Page is PIIC, and to file the Seikosoft

Lawsuit against PIIC.

        WHEREFORE, Philadelphia Indemnity Insurance Company respectfully requests this

Honorable Court to enter a Judgment finding that Page has violated the Lanham Act:

        (a)    awarding PIIC all damages that PIIC has incurred because of Page’s

               misrepresentations;

        (b)    awarding PIIC its attorney’s fees; and

        (c)    entering an injunction that prohibits Page from representing that it is PIIC, that

               prohibits Page from representing that it is an extension of PIIC, and that prohibits



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              Page from stating that is an agent of PIIC or has any type of agency relationship

              with PIIC.

                                           PHILADELPHIA INDEMNITY INSURANCE
                                           COMPANY


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